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         EXHIBIT A
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1                           UNITED   STATES    DISTRICT      COURT
                              WESTERN    DISTRICT     OF    TEXAS
2                                    AUSTIN    DIVISION


3
      LAURA WONDERCHECK,
4
                    Plaintiff(s),
5
      VS.                                      CIVIL ACTION         NO. 1:19-CV-O0640
6
      MAXIM HEALTHCARE SERVICES,
7     INC.,

 8                  Defendant(s).


 9
                                REPORTER'S CERTIFICATE
10                            DEPOSITION      OF   JAWN    OILAR
                                     JULY 23, 2020
11                                (Reported Remotely)

12                  I, BARBARA GRIFFIN, a Certified Shorthand Reporter

13    in and for the State of Texas, hereby certify to the

14    following:

15                  That the witness, JAWN OILAR, was duly sworn by the

16    officer and that the transcript of the oral deposition is a

17    true record of the testimony given by the Witness,

18    hereinbefore.


19                  I further certify that pursuant to FRCP Rule

20    30(f)(1) that the signature of the Deponent:

21                    X   was requested by the Deponent or a party

22    before the completion of the deposition and is to be

23    returned within 30 days from date of receipt of the

24    transcript.

25                  If returned, the attached Changes and Signature


     Kim Tindall and Associates, LLC 16414 San Pedro, Suite 900     San Antonio, Texas 78232
     210-697-3400                                                              210-697-3408
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     Jawn Oilar                                                              July 23, 2020
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1    Page contains any changes and the reasons therefore;

2                   That the amount of time used by each party at the

3     deposition is as follows:

4                   Austin Kaplan - 01:16

5                   Tori Bliss - 00:07


6                   I further certify that I am neither attorney, nor

7     counsel for, related to, nor employed by any of the parties

8     to the action in which this testimony is taken of record in

 9    this cause, nor do I have a financial interest in the

10    action.


11                  SUBSCRIBED AND SWORN TO on this the 31st day of

12    July, 2020.

13


14


15
                         BARBARA GRIFFIN, Texas GSR 2494
16                       Expiration Date: 1/31/21
                         Firm Registration No. 631
17                       Kim Tindall & Associates, LLC
                         16414 San Pedro, Suite 900
18                       San Antonio, Texas  78232
                         (210) 697-3400
19

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     Kim Tindall and Associates, LLC 16414 San Pedro, Suite 900   San Antonio, Texas 78232
     210-697-3400                                                             210-697-3408
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     Jawn Oilar                                                              July 23, 2020
                                                                                    Page 2


 1                                 APPEARANCES


2
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            akaplangkaplanlawatx.com
6
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             2727 North     Harwood     Street
 9          Dallas, Texas         75201
             vblissO jonesday.com
10
      ALSO    PRESENT:
11
             Laura   Wondercheck
12


13


14


15


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